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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

BERKELEY COUNTY SCHOOL BOARD )
OF TRUSTEES,                        ) Civil Action No.: 2:18-cv-00151-DCN
                                    )
              Plaintiff,            )
                                    )
       vs.                          )               PLAINTIFF’S
                                    )   ANSWERS TO LOCAL RULE 26.01
HUB INTERNATIONAL LIMITED, et als., )           INTERROGATORIES
                                    )
             Defendants.            )
                                    )

       Plaintiff, by and through its undersigned counsel, hereby answers the Interrogatories

required by Local Rule 26.01 of the Local Rules of the United States District Court for the

District of South Carolina, as follows:

       A.      State the full name, address, and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said interest.

       ANSWER:         Plaintiff is not aware of any persons or legal entities who have a

subrogation interest in the claims alleged in its Complaint.

       B.      As to each claim, state whether it should be tried jury or nonjury and why.

       ANSWER:         Plaintiff has requested a jury trial on all claims alleged in its

Complaint.

       C.      State whether the party submitting these responses is a publicly owned company

and separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned

company in which the party owns ten percent or more of the outstanding shares.

       ANSWER:         Plaintiff is not a publicly owned company.

       D.      State the basis for asserting the claim in the division in which it was filed (or the
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basis of any challenge to the appropriateness of the division). See Local Civil Rule 3.01.

       ANSWER: The claims alleged in Plaintiff’s Complaint are properly assigned in
the Charleston Division because (1) Defendant Brantley Thomas resides within this
Division; (2) a substantial part of the events or omissions giving rise to the claims alleged in
the Complaint occurred in this Division; and (3) the Defendants named in the Complaint
do business in this Division relating to the events or omissions alleged in the Complaint.
Local Civ. Rule 3.01(A)(1) (D.S.C.).

E.       Is this action related in whole or in part to any other matter filed in this District, whether
civil or criminal? If so, provide:

                (1) a short caption and the full case number of the related action;

                (2) an explanation of how the matters are related; and

                (3) a statement of the status of the related action.

        Counsel should disclose any cases which may be related regardless of whether they are

still pending. Whether cases are related such that they should be assigned to a single judge will

be determined by the Clerk of Court based on a determination of whether the cases: arise from

the same or identical transactions, happenings, or events; involve the identical parties or

property; or for any other reason would entail substantial duplication of labor if heard by

different judges.

ANSWER: This case is related to the case of United States v. Brantley Denmark Thomas,
III, Case No. 2:17-cr-01150-DCN, wherein Brantley Denmark Thomas, III (“Thomas”) has
been charged, inter alia, with Honest Services Wire Fraud in violation of 18 U.S.C. §§ 1343
and 1346. Thomas is a named defendant in the Plaintiff’s Complaint herein, and the
foregoing crimes alleged against him in the Information in the criminal matter arise, in
large measure, from the same transactions, happenings, or events as the civil claims alleged
against him and the remaining Defendants in the Plaintiff’s Complaint. Thomas has
entered into a plea agreement with the United States in the criminal matter, and, on
January 16, 2018, entered a plea of guilty to the charges of Honest Services Wire Fraud
against him.




                                    [SIGNATURE PAGE TO FOLLOW]




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                                              Respectfully Submitted,


                                              SMYTH WHITLEY, LLC

                                              s/Joshua S. Whitley
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                                              Attorney for Berkeley County School Board
                                              Trustees

Charleston, South Carolina
January 18, 2018




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